Case 2:05-cr-20249-.]TF Document 22 Filed 07/11/05 Page 1 of 2 Page|D 20

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

    

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tea ss grass
-vs- Case No. 2:05cr20249-02B
RoBERTA REYNA

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDlNGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(9, a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

ROBERTA REYNA is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal ROBERTA RE¥NA shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Daie; July11,2005 "<Q/Ld/VUL /( Z/{//WF

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20249 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

